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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 DAVID YANOFSKY,

                  Plaintiff,

        v.                                           Civil Action No. 1:16-cv-00951 (KBJ)

 UNITED STATES DEPARTMENT
 OF COMMERCE,

                  Defendant.


                                      [PROPOSED] ORDER


       Upon consideration of Plaintiff’s Motion for Reconsideration (“Plaintiff’s Motion”), as

well as all oppositions and responses thereto and the entire record in this matter, it is HEREBY

ORDERED that:

       1. Plaintiff’s Motion is GRANTED;

       2. The Court’s April 25, 2019 Order in this matter, ECF No. 47, is VACATED; and

       3. Defendant United States Department of Commerce shall, within seven (7) days of this

             order, provide Plaintiff with the data files responsive to his FOIA request;



IT IS SO ORDERED, this __________ day of _____________, 2019.




                                                HON. KETANJI BROWN JACKSON
                                                United States District Judge
